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                       UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF FLORIDA
                                MAIMI DIVISION

 IN RE:                                           CASE NO. 23-15483-LMI

 ATLANTIC RADIO TELEPHONE, INC.,                  CHAPTER 11

       Debtor.



                           NOTICE OF FILING
              AMENDED SCHEDULE OF EXECUTORY CONTRACTS
           AND UNEXPIRED LEASES AND ESTIMATED CURE AMOUNTS

       PLEASE TAKE NOTICE that ATLANTIC RADIO TELEPHONE, INC., by and through

undersigned counsel, hereby files the Amended Schedule of Executory Contracts and Unexpired

Leases, and Estimated Cure Amounts (the “Schedule”). The attached schedule is filed in accordance

with the “Bid Procedures” approved by the Court’s Order (I) Approving (A) Stalking Horse Bid;

(B) Break-Up Fee; (C) Form of Asset Purchase Agreement; (D) Procedures Governing

Assumption and Assignment of Executory Contracts and Unexpired Leases; (E) Bid Procedures;

(F) Form and Manner of Notice; and (II) Scheduling Sale Hearing; [ECF No. 179] and amends

the Schedule of Executory Contracts and Unexpired Leases, and Estimated Cure Amounts [ECF

No. 185] filed with the Court on May 6, 2024.

DATED: May 15, 2024.

                                                SEESE, P.A.
                                                101 N.E. 3rd Avenue
                                                Suite 1500
                                                Fort Lauderdale, Florida 33301
                                                Telephone No.: (954) 745-5897
                                                mseese@seeselaw.com

                                                By: _____s/Michael D. Seese
                                                       Michael D. Seese, Esq.
                                                       Fla. Bar No. 997323
                                                Attorneys for Debtor-in-Possession
                                                         AMENDED 1
                                             SCHEDULE OF EXECUTORY CONTRACTS
                                      AND UNEXPIRED LEASES AND ESTIMATED CURE AMOUNTS

           Name of Counterparty                     Type of Agreement         Estimated Amount to Cure
                                                                               (Pre- and Post-Petition)


              ACR Electronics *                     Equipment and Airtime            $11,936.67
           5757 Ravenswood Road
          Fort Lauderdale, FL 33312
                                                                                                              Case 23-15483-LMI




                   Adobe *                                Software                      $0.00
               345 Park Avenue
              San Jose, CA 95110
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            AdvanceTec Industries *                      Equipment                      $0.00
             1150 NW 163rd Drive
               Miami, FL 33169


             Antcom Corporation *                        Equipment                    $2,339.00
                                                                                                              Filed 05/15/24




              367 Van Nexx Way
                   Suite 602
              Torrance, CA 90501


                   AT&T                                    Internet                     $0.00
                                                                                                              Page 2 of 9




              One AT&T Way
          Bedminster, NJ 07921-0752


1
    The additional agreements are denoted by (*).

                                                                                                          1
     Business Fusion *         Billing Software      $0.00
    14205 SE 36th Street
         Suite 100
    Bellevue, WA 98006



     Digital Skies, LLC        Airtime Billing     $6,765.00
  4611 S. University Drive
            #454
 Fort Lauderdale, FL 33328
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      DOT Digital *               Software           $0.00
     1261 Broadway
        Suite 306
                                                                    Doc 187




   New York, NY 10001


        Formsite *                Software           $0.00
    11671 Lantern Road
         Suite 300
     Fishers, IN 46038
                                                                    Filed 05/15/24




Frontier US Computer Corp. *     Equipment           $0.00
  1275 Business Park Drive
   Traverse City, MI 49686
                                                                    Page 3 of 9




     Furuno USA, Inc.            Equipment        $133,454.28
 4400 NW Pacific Rim Blvd
    Camas, WA 98607



                                                                2
 GlobalStar USA, LLC *                   Airtime                  $0.00 (pre)
1351 Holiday Square Blvd.                                       $3,988.13 (post)
  Covington, LA 70433



    GSE (SatCollect) *               Airtime Services           $10,689.42 (pre)
  2429 SW 44th Terrace                                          $2,596.63 (post)
Fort Lauderdale, FL 33317
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       Hologram                      Cellular Airtime                $0.00
 2045 W. Grand Avenue
   Chicago, IL 60612
                                                                                         Doc 187




   Icom America, Inc.                  Equipment                   $23,814.48
 12421 Willows Road NE
   Kirkland, WA 98034
                                                                                         Filed 05/15/24




Inmarsat Solutions US, Inc.          Satellite Airtime          $22,798.19 (pre-)
  2598 E. Sunrise Blvd.                                         $4,105.42 (post-)
       Suite 210A
Fort Lauderdale, FL 33304
                                                                                         Page 4 of 9




  Iridium Satellite, LLC      Equipment and Airtime Services   $920,067.03 (pre-)
    1750 Tysons Blvd.                                          $203,427.22 (post-)
        Suite 1400
   McLean, VA 22101


                                                                                     3
   KVH Industries, Inc.      Hardware and Airtime Services   $97,026.84 (pre-)
   50 Enterprise Center                                      $36,959.25 (post-)
   Middletown, RI 02842


        Magento *               Software (Web hosting)             $0.00
     345 Park Avenue
    San Jose, CA 95110


       Marlink, Inc.               Satellite Airtime         $28,777.87 (pre-)
 3327 Sam Houston Pkwy E                                     $14,087.83 (post-)
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    Houston, TX 77047

        Marlink, Inc.
3327 S. Sam Houston Pkwy E
                                                                                      Doc 187




    Houston, TX 77047


  MetOcean Telematics *            Satellite Airtime               $0.00
    21 Thornhill Drive
  Dartmouth, NS B3B 1R9
                                                                                      Filed 05/15/24




  MetOcean Telematics *
    4296 Forbes Blvd.
   Lanham, MD 20706


       Microsoft *                     Software                    $0.00
                                                                                      Page 5 of 9




    One Microsoft Way
   Redmond, WA 98052




                                                                                  4
 Network Innovations US, Inc.
  c/o Eric N. Assouline, Esq.     Hardware and Airtime Services   $1,326,738.25 (pre-)
  Assouline & Berlowe, P.A.                                       $318,423.13 (post-)
      100 S.E. 2nd Street
          Suite 3105
       Miami, FL 33131


          Nexcess *                       Web hosting                    $0.00
       2703 Ena Drive
      Lansing, MI 48917
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      Oracle America, Inc.              Netsuite Software          $25,928.44 (pre-)
c/o Shawn M. Christianson, Esq.                                    $33,173.78 (post-)
         Buchalter PC
       425 Market Street
           Suite 2900
                                                                                             Doc 187




    San Francisco, CA 94105


         PandaDoc *                         Software                     $0.00
      3739 Balboa Street
   San Francisco, CA 94121
                                                                                             Filed 05/15/24




     Rave Infosys, Inc. *                  IT Services             $27,345.00 (pre)
   3111 N. University Drive                                        $2,400.00 (post)
          Suite 604
  Pompano Beach, FL 33065
                                                                                             Page 6 of 9




  Remote Data Sensing, LLC              VMS Equipment                  $1,200.00
     2668 Jericho Road
    Maryville, TN 37803


                                                                                         5
 Pivotel Solutions, Inc. *   Satellite Airtime   $256,300.08 (pre)
(Pivotel-MVS USA, Inc.)                          $81,086.30 (post)
  2 Oakwood Boulevard
        Suite 200
  Hollywood, FL 33020



   Ring Central, Inc.         Phone System            $0.00
    20 Davis Drive
  Belmont, CA 94002
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 Satcom Global, Inc *        Satellite Airtime   $53,827.96 (pre)
     Tanners Bank                                $9,261.50 (post)
North Shields NE30 1JH
                                                                         Doc 187




   United Kingdom

emea@satcomglobal.com


      SendGrid *                Software              $0.00
    101 Spear Street
                                                                         Filed 05/15/24




       Suite 500
San Francisco, CA 94105


  ShopperApproved *             Software              $0.00
    155 31st Street
                                                                         Page 7 of 9




   Ogden, UT 84401




                                                                     6
     Two10 Degrees *         Satellite Airtime     $0.00
 1 Brabazon Business Park
     Golf Course Lane
    Filton Bristol Avon

      Nova Systems *
   (fka Two10 Degrees)
          Suite 2
       Ground Floor
   18 Christchurch Road
       Bournemouth
     BH1 3NE Dorset
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     United Kingdom

contact@novasystemsuk.com
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       Viasat, Inc.          Airtime Services    $22,056.33
   6155 El Camino Real
   Carlsbad, CA 92009


         WIX *                  Software           $0.00
                                                                  Filed 05/15/24




     10 W 18th Street
        7th Floor
   New York, NY 10011

          WIX *
 500 Tery A Francois Blvd.
                                                                  Page 8 of 9




         6th Floor
 San Francisco, CA 94158




                                                              7
                  XSAT *                                      Satellite Airtime                                               $0.00
            JAFZA 22 Building
              PO Box 17040
            Jebel Ali Free Zone
               Dubai, UAE


                Zendesk *                                          Software                                                   $0.00
            989 Market Street
         San Francisco, CA 94103
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            Customer Contracts                                Satellite Airtime                                               $0.00


Notes:
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    1.   The Debtor reserves the right to amend this Schedule, including, without limitation, (a) removing any agreement on the basis that such agreement is not
         an executory contract or unexpired lease, or (b) amending any amount disclosed herein.

    2.   The Debtor reserves and does not waive any claim, objection, or right of offset with respect to any agreement included on this Schedule.
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